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  Counsel for Defendants

                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

    RALPH “TREY” JOHNSON, et al.,
    individually and on behalf of all        Civil Action No. 2:19-cv-05230-JP
    persons similarly situated,
                                             CORRECTED NOTICE OF MOTION
                 Plaintiffs,                 AND MOTION OF THE ATTENDED
                                             SCHOOLS TO CERTIFY
       v.                                    INTERLOCUTORY APPEAL OF
                                             RULING DENYING THEIR MOTION
    NATIONAL COLLEGIATE
                                             TO DISMISS (ECF 55-56)
    ATHLETIC ASSOCIATION, a/k/a the
    NCAA, et al.,

                 Defendants.
      Pursuant to Fed. R. Civ. Proc. 59(d)(6) and 28 U.S.C. § 1292(b), defendants
Cornell University, Fordham University, Lafayette College, Sacred Heart
University and Villanova University hereby respectfully move this Court to
amend its memorandum and order denying their Motion to Dismiss the First
Amended Complaint (ECF 55-56) to certify an interlocutory appeal, for the
reasons set forth in the accompanying memorandum in support of this motion.
      This Motion is filed after a conference of counsel to discuss stipulation to
relief. Plaintiffs intend to oppose this motion.
      Pursuant to E.D. Pa. Local R. Civ. Proc. 7.1(f), defendants request oral
argument on this motion.


Dated: September 29, 2021                 Respectfully submitted

                                          s/    Steven B. Katz     .

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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 29, 2021, the foregoing document
was served on counsel by filing via the CM/ECF system, which will send an
email notice to registered parties.


                                        s/   Steven B. Katz     .

                                         Steven B. Katz
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